Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 1 of 7

10:10 @&m t+ + BAO QF will 78%

© — Luke wy

DY Ute (-MWaG em Mal-r-[cem-lolele) maar
rore)a) clare [=1a(e) Merr=] OM iar- are
oral

iM al-my-lere)ale Malm lalnlelelaler-re|
dats) ql 8)celele-lag Mm dali Mm Uno f—
Wee kome le) late mm (om el -m-ye) gal —

S) (= (0g) ife) ON Oslo) gal T-1S
NZelUMAl=msie1g=\)) 7-10 RO) =i 8

— Thank you man

eatctoksiom C=] AAT = melee] E cial
fefe)] ave mi com l-mel0|(-)ar-]e\el0) miglts

me e1.¢-1m | [-1e mm Come l0m-lalemi te) (=)
icelnam ele

| will summrize the thing and
post it

— Thank you man!

Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 2 of 7

10:11 @&m ++ BAO @ Fal 78% 8

me lel <i mi(-1em ComeUN-lple m3 ce) (—
icelaam ele

| will summrize the thing and
post it

—— Thank you man!

VE} tam iy atc) acme le)ialemelamare))
NolUM IU LIMAre\Zemcie]®) oem Mm ielan
aatelany

Yea, got many support
“= messages from you guys!

Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 3 of 7

10:11 @&m + + @AXO QF. ul 78%0

€ — Luke X.

Cole talial @arom cele) cio (e)are)
ib-dlaremelelmelUlamcromZel0)
foxelUl(elanarsr-laamaale) c=
foxe)ahdjaret=inven mi nale)at =) 4

Kole) @ale)mcele)

No, | have the other Akai gun

“= Don't know why took so long

Thank you man, | just post it
“= brifly

KM dalomere)aldiare[-iales'ar-[eitere]

(ors hs} ame) mel g=le i] a ce)" F-] 06 [oer
ates wae le lai

we towars a new gun

ee = Aa ® © YY &

lI O <

Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 4 of 7

10:11 @&mw + + GAXO QF. ul 78%8

€ "RS Luke . @ @

< i?

#betterwatchyourtone
Go Fast Don't Suck

We)(o7-mel-re)e)(-muielel (em atch yc)
NJelUlm oy-leL alam tal ice

mceomenvdialem cone) t-lpal-m elem cele
or] alex=1|101¢ Oa Mal=ie ome [e) ma co
ley=Me)tal-iecmalomel[elaim ey-\’melel

“= | Cancel the my credit?

emf) “aleMaal=rcl amu]
alm ce) fore) ai diare(=1alen Aral

Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 5 of 7

10:11 @&m + + CAO QF. wl 78%

€ "RS Luke . oe @

| really appreciate it for you
“= doing this for our shooters

WALSH tal Em ce Fees ele

iS} f-]ple] [aye me) om ce) m\(0)0les\-)) om
sUKS) ar-\e [ele Msyo)pal-m-je]e)ele)at
aloe] ale meal sie =)

7 16

iM at-la) <omcom elUm-Mle)me) i
fel=yo)8) (== 1e-Me(-)80l ale mcems-1-)
ale) manleceiame)m@-meliaq@ey-lemal-mts

DY To al-maaiest-1¢-pmcom-ie (=m Lele)
oNV-1mm Cal ises

=~ no

Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 6 of 7

10:11 @&m t+ + GAO QF. ul 78%

€ — Luke ..

ALSE OLA AW AN ARRON ZI ALe Fer- lan)
More)anVaielaelanVAui-\ nace) elem olalerat

. wing SCé

Scammed by Universal Van
Lines - MovingScam.com

movingscam.com

A at-)@>e)al-me)mcjatch cmantclany

fe) dats) mm elUtsii al stots

Looks like he has done same
“— things many times

O
“A

Case 0:20-cv-61469-RS Document 207-87 Entered on FLSD Docket 12/05/2023 Page 7 of 7
